

People v Hossain (2024 NY Slip Op 00983)





People v Hossain


2024 NY Slip Op 00983


Decided on February 27, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 27, 2024

Before: Singh, J.P., Friedman, González, Higgitt, Michael, JJ. 


Ind No. 3679/07 3679/07 Appeal No. 1760 Case No. 2021-02920 

[*1]The People of the State of New York, Respondent,
vMohammed Hossain, Defendant-Appellant.


Jenay Nurse Guilford, New York (Allison Haupt of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (David Gagne of counsel), for respondent.



Order, Supreme Court, New York County (Ruth Pickholz, J.), entered on or about July 7, 2021, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion in declining to grant a downward departure (see People v Gillotti, 23 NY3d 841, 861 [2014]). The mitigating factors cited by defendant were either adequately taken into account by the risk assessment instrument or were outweighed by the seriousness of the underlying crime, in which
defendant violently robbed and sexually assaulted the victim while threatening her with a box cutter. 
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 27, 2024








